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Admitted pro hac vice

Attorneys for Plaintiff

           IN THE UNITED STATES DISTRICT COURT
                   DISTRICT OF MONTANA
                      BUTTE DIVISION

ERIK POWELL,
 Plaintiff,

v.                                      Civil Action No.2:17-cv-15-SEH

MONTANA STATE                           PLAINTIFF’S UNOPPOSED
UNIVERSITY, DR. ROBERT                   MOTION TO CONTINUE
MOKWA, and JYL SHAFFER,                NOVEMBER 29, 2018 HEARING
employees of Montana State
University, sued in their official
capacity,
  Defendants.
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        Plaintiff Erik Powell moves this Court to continue the hearing set

for 10:00 a.m. on November 29, 2018. Counsel for the parties have

consulted about this motion; both parties agree to the proposed

continuance. In support of his motion, Mr. Powell states the following:

     1. Lead counsel for Mr. Powell has two previously scheduled

obligations that conflict with the scheduled hearing date. On November

28, 2018 at 1:00 p.m. he is obligated to be in Blacksburg, Virginia for a

school disciplinary hearing. On November 30, 2018, at 10:00 a.m. He is

obligated to argue a motion at the United States District Court for the

Eastern District of Virginia, Alexandria Division.

     2. Each of these previously scheduled obligations independently

conflict with the hearing date and time currently set for the hearings on

Plaintiff’s Motion for Summary Judgment1 and Defendants’ Motion for

Partial Summary Judgment.2 No commercial flights would allow

counsel to attend either of these prior commitments and also attend the

hearing in this case.

     3. Counsel for the parties have consulted as to available dates. All

counsel are available on December 17, 2018. If that date is not the


1   Doc. 114
2   Doc. 119


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Court, counsel are also available on December 12, 2018, December 18,

2018, and December 19, 2018.

     WHEREFORE, Plaintiff Erik Powell moves this Court to continue

  the hearing set for November 29, 2018 and reset it for Monday,

  December 17, 2018 or such other date that is available to the Court

  and the parties.


     DATED: November 19, 2018

                                  Respectfully submitted,

                              By: /s/ Jesse R. Binnall
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                     CERTICATE OF SERVICE

     I hereby certify that on November 19, 2018 I filed the foregoing

using the Clerk’s CM/ECF system, which will provide notice to all

counsel of record.




                            By:/s/ Jesse R. Binnall
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